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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00008-WJM

UNITED STATES OF AMERICA,

                     Plaintiff,

v.

1. GUY M. JEAN-PIERRE,
    a/k/a Marcelo Dominguez de Guerra,



                      STIPULATED STATEMENT OF THE CASE


       In accordance with WJM Revised Practice Standards VI(B), the United States of

America, by undersigned counsel, submits a stipulated Statement of the Case which

it/he failed to include in the Stipulated Jury Instructions submitted [ECF 77].

       The parties stipulate that an appropriate, brief statement of the case is:

              “The defendant Guy M. Jean-Pierre is charged in a 28-count second

superseding indictment with violations of federal criminal laws: one count of conspiracy

to commit mail, wire and securities fraud, 20 counts of wire fraud, 4 counts of mail fraud,

3 counts of securities fraud and one count of money laundering. The indictment also

contains a forfeiture allegation regarding the proceeds of the alleged frauds.

       The conspiracy and fraud counts allege a scheme to defraud FusionPharm

investors, a microcap stock traded on the Over-the-Counter market. The scheme

included the defendant preparing and transmitting documents and assisting others in

the preparation of documents that: (a) allowed FusionPharm control person(s)/co-

conspirator(s) to sell stock in violation of securities laws in order to fund FusionPharm;
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(b) falsely portrayed deposits of proceeds from the sale of FusionPharm common stock

as convertible debt obligations owed to affiliate companies of FusionPharm, Bayside

and Meadpoint; (c) falsely portrayed Microcap, Bayside, and Meadpoint as non-affiliates

of FusionPharm; (d) concealed the role of other co-conspirators in the FusionPharm

business; (e) falsely represented that the quarterly and annual disclosure documents

and financial statements constituted adequate current information about FusionPharm;

and (f) failed to disclose his role in drafting documents for another attorney to sign and

represent as the other attorney’s own work product. The conspiracy count alleges an

agreement and overt acts involving the defendant and others in the posting of false

documents on the Over-the-Counter website and the selling of FusionPharm stock on

the penny stock market. These offenses allegedly occurred between 2011 and 2014.

       Other wire fraud counts allege a similar scheme to defraud involving the

defendant acting in a similar role in a scheme that involved law enforcement personnel

and their agents acting in an undercover role which occurred in February through April

2016. The money laundering count alleges the defendant knowingly conducted or

attempted to conduct a financial transaction affecting interstate and foreign commerce

involving property that was proceeds of securities fraud or wire fraud which was

intended to conceal and disguise the location, source, ownership and control, of the

financial transaction.

       The defendant denies these charges and has plead not guilty to them.
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      Dated this 6th day of January 2019.

                                       Respectfully submitted,

                                       JASON DUNN
                                       United States Attorney

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                              CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of January 2019, I electronically filed the
foregoing GOVERNMENT=S PROPOSED VOIR DIRE with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to counsel of record



                                                 /s Robert Brown
                                                 ROBERT BROWN
                                                 Assistant U.S. Attorney
